                                 Case 2:20-cv-08686-VAP-RAO Document 13 Filed 11/06/20 Page 1 of 1 Page ID #:52




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                                  8                                     United States District Court
                                                                        Central District of California
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Central District of California
United States District Court




                                 11       CARMEN JOHN PERRI,

                                 12                        Plaintiff,
                                                                                      Case No. CV 20-08686-VAP (RAOx)
                                 13                        v.

                                 14                                                   ORDER OF DISMISSAL
                                          RETAIL CENTER 9000 VENICE
                                 15       LLC., et al.,
                                 16                     Defendants.

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                                              The Court having been advised by counsel for the parties that the above-
                                 18   entitled action has settled,
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                                 20         IT IS ORDERED that this action be, and hereby is, dismissed in its entirety
                                      without prejudice.
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                                 22         THE COURT will retain jurisdiction for a period of sixty (60) days to
                                      enforce the terms of the settlement. All pending dates are hereby vacated.
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                                      Dated: November 6, 2020
                                 25                                                    ___________________________
                                                                                       VIRGINIA A. PHILLIPS
                                 26                                                    United States District Judge
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